         Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:



        AFTER CONSIDERING THE APPLICATIONS for executive clemency of each of
the following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on January 17, 2019, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make immediately available to each named person the Residential Drug Abuse
Program (RDAP). Further, I condition the grant of commutation to each of the following named
persons on that person enrolling in the RDAP program by written agreement, as evidenced by
that person's signing, within 14 days of that person's receipt of a certified copy of this document,
a receipt verifying his or her acceptance of the commutation granted with all of its conditions,
including enrollment in RDAP:



       Turner Ashe, Jr.                               Reg. No. 07029-028
       Terrance Baker                                 Reg. No. 39947-039
       Anthony Billings                               Reg. No. 04727-087
       Latasha Sherri Butler                          Reg. No. 31909-177
       John Choate                                    Reg. No. 15584-074
       Lawrence Stafford Davis                        Reg. No. 14630-171
       Robin Marie Davis                              Reg. No. 05445-084
       Donald Wayne Dowling                           Reg. No. 27903-180
       Billy Ray Fairley, Sr.                         Reg. No. 21780-057
       Dujuan Farrow                                  Reg. No. 38825-083
       Kenneth Wayne Gragg                            Reg. No. 11905-058
       Antonio Merlin Harmon                          Reg. No. 18279-171
       Julius Shaner Hayes                            Reg. No. 15813-047
       Tracy Jackson                                  Reg. No. 14385-035
       Randy R. Jefferson                             Reg. No. 07380-025
       Dorian Jordan                                  Reg. No. 35608-044
       Safarra Kimmons                                Reg. No. 11601-042
       Johnny Marton Lott,                            Reg. No. 14238-064
         aka Johnny Martin Lott
       Mirackle McGlown,                              Reg. No. 28828-039
         aka Miracle McGlown
       Steven McKelvey                               Reg. No. 96728-071
       Silas Junior Mobley                           Reg. No. 24002-058
       Doyle Ray Morgan                              Reg. No. 16892-058
       Aubrey Valdez Moton                           Reg. No. 16478-171
       Frank Vincent Okiyama                         Reg. No. 18913-148
       Michael Shavon Pate                           Reg. No. 05484-017
       Zeteral Perkins                               Reg. No. 92246-080
       Gethsemane Pita                               Reg. No. 92104-022
       Michael Thomas Potts                          Reg. No. 19147-057
       Kenneth Louis Reid                            Reg. No. 19450-058




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       Jerrod Richardson                             Reg. No. 32056-160
       Michael Sain,                                 Reg. No. 21872-009
         aka Ronald Jones
       Daryl Joseph Shaw                             Reg. No. 15049-026
       Kandis Karlotta Shipman                       Reg. No. 34147-044
       Jeffery Wayne Shondel                         Reg. No. 07422-030
       Johnnie Stewart                               Reg. No. 05775-090
       Duffy Lynn Striker                            Reg. No. 24104-001
       Carlton Christopher Sullivan                  Reg. No. 38155-037
       Tyreese R. Taylor                             Reg. No. 06212-090
       Dorminic Thomas                               Reg. No. 18773-076
       Dwight A. Thomas                              Reg. No. 20652-045
       Michael Shawn Thomas                          Reg. No. 06629-073
       Preston Bernard Thomas                        Reg. No. 39578-018
       Timothy Michael Walker                        Reg. No. 27300-180
       Christopher E. Webster                        Reg. No. 14880-026
       Terrance Wellons                              Reg. No. 53390-004
       Richard Arthur Wright                         Reg. No. 13741-112
       William Charles Wright                        Reg. No. 14456-035


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 180 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Adrian Antoine Campbell,                      Reg. No. 48415-019
        aka Adrian Antonio Campbell
       Leonard Hoskins                               Reg. No. 08671-028


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Damon Burkhalter                              Reg. No. 37227-177
       Alberto Chahia                                Reg. No. 09550-059
       Deante Drake                                  Reg. No. 05730-087
       German Gallegos                               Reg. No. 33128-180
       Kenneth Jay Putensen                          Reg. No. 01792-029
       Kelly Joe Walker                              Reg. No. 03582-029




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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 210 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Ernest Gonzalez                               Reg. No. 41745-179
       Tony Johnson                                  Reg. No. 07918-028
       Clemith L. McCray                             Reg. No. 08980-026
       Dante L. Williams                             Reg. No. 39840-083


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 240 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Christopher Almaguer                         Reg. No. 32079-177
       Kim Davis Beckstrom                          Reg. No. 25147-008
       William Brown                                Reg. No. 10430-032
       Calvin Caver                                 Reg. No. 54496-060
       Ernest Milton Glover                         Reg. No. 15706-016
       Emma Jean Harmon                             Reg. No. 41910-018
       Timmy Nathan Johnson                         Reg. No. 35692-044
       Timothy Terell Johnson                       Reg. No. 08200-030
       Johnny William Lane                          Reg. No. 15117-026
       Delvin McKinney                              Reg. No. 30720-018
       Jessie L. Traylor                            Reg. No. 14863-026


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 262 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Calvin Biggs                                 Reg. No. 17770-424
       Lamell T. Jones                              Reg. No. 17588-045
       Jose Ramiro Pena                             Reg. No. 11378-085
       Raul Portillo                                Reg. No. 62920-080
       Jermaine Ali Wilson                          Reg. No. 11566-021


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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 300 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Jeffrey Matthew Jeanetta                      Reg. No. 90324-071
       Gary Thomas                                   Reg. No. 21154-086
       Mark J. Thornton                              Reg. No. 44257-061

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 324 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Macheo Hill                                   Reg. No. 28133-177
       David Vaught                                  Reg. No. 39137-177

        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to a term of 360 months' imprisonment, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence. I also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program (RDAP).
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Wayne Allen Bledsoe, Jr.                     Reg. No. 60866-080
       Jeffery Garrett                              Reg. No. 07154-028
       Wesley Hodge                                 Reg. No. 16760-056
       Myron Dejuan Orr                             Reg. No. 08678-030

        I hereby further commute the total sentence of imprisonment imposed upon Pablo
Abrugar Abulencia, Reg. No. 72294-083, to a term of 205 months' imprisonment, leaving
intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Pablo Abrugar Abulencia, Reg. No. 72294-083, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Pablo Abrugar Abulencia, Reg. No. 72294-083, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.



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         I hereby further commute the total sentence of imprisonment imposed upon Clarence Rex
Burnell, Reg. No. 10325-091, to expire on January 17, 2019. I also remit the unpaid balance of
the $5,000 fine imposed by the court that may remain when his term of incarceration has expired. I
leave intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Clarence Rex Burnell, Reg. No. 10325-091, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Clarence Rex Burnell, Reg. No. 10325-091, on him enrolling in
RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted with
all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon James Toves
Cabaccang, Reg. No. 09186-112, to a term of 292 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to make available
to the said James Toves Cabaccang, Reg. No. 09186-112, the Residential Drug Abuse Program,
or future equivalent program, at an appropriate time before his sentence expires. Further, I
condition this grant of commutation to the said James Toves Cabaccang, Reg. No. 09186-112,
on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of
his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Melvin
Couch, Reg. No. 06705-032, to a term of 180 months' imprisonment. I also remit the unpaid
balance of the $10,000 forfeiture obligation imposed by the court that may remain when his term
of incarceration has expired. I leave intact and in effect the 10-year term of supervised release
with all its conditions and all other components of the sentence. I also direct the Bureau of
Prisons to make available to the said Melvin Couch, Reg. No. 06705-032, the Residential Drug
Abuse Program, or future equivalent program, at an appropriate time before his sentence expires.
Further, I condition this grant of commutation to the said Melvin Couch, Reg. No. 06705-032,
on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of
his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Quincy
Dennis, Reg. No. 02797-061, to a term of 360 months' imprisonment. I also remit the unpaid
balance of the $30,000 fine imposed by the court that may remain when his term of incarceration
has expired. I leave intact and in effect the two-year term of supervised release with all its
conditions and all other components of the sentence. I also direct the Bureau of Prisons to make
available to the said Quincy Dennis, Reg. No. 02797-061, the Residential Drug Abuse Program,
or future equivalent program, at an appropriate time before his sentence expires. Further, I
condition this grant of commutation to the said Quincy Dennis, Reg. No. 02797-061, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt
of a certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Stacey Lane
Fisher, Reg. No. 15796-084, to a term of 168 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence. I also direct the Bureau of Prisons to make available to the said Stacey Lane
Fisher, Reg. No. 15796-084, the Residential Drug Abuse Program, or future equivalent program,
at an appropriate time before his sentence expires. Further, I condition this grant of commutation
to the said Stacey Lane Fisher, Reg. No. 15796-084, on him enrolling in RDAP by written
agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy of this
document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.




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        I hereby further commute the total sentence of imprisonment imposed upon Fontelle
Ricardo Groves, aka Fontele Ricardo Groves, Reg. No. 15526-056, to a term of 188 months'
imprisonment. I also remit the unpaid balance of the $2,100 fine imposed by the court that may
remain when his term of incarceration has expired. I leave intact and in effect the five-year term of
supervised release with all its conditions and all other components of the sentence. I also direct the
Bureau of Prisons to make available to the said Fontelle Ricardo Groves, aka Fontele Ricardo
Groves, Reg. No. 15526-056, the Residential Drug Abuse Program, or future equivalent program,
at an appropriate time before his sentence expires. Further, I condition this grant of commutation to
the said Fontelle Ricardo Groves, aka Fontele Ricardo Groves, Reg. No. 15526-056, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt
of a certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Douglas
Eugene Harms, Reg. No. 10037-029, to a term of 196 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Douglas Eugene Harms, Reg. No. 10037-029, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Douglas Eugene Harms, Reg. No. 10037-029, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Christopher
Lamont Hill, Reg. No. 32675-037, to a term of 264 months' imprisonment, leaving intact and
in effect the eight-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Christopher Lamont Hill, Reg. No. 32675-037, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Christopher Lamont Hill, Reg. No. 32675-037, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.


        I hereby further commute the total sentence of imprisonment imposed upon Rodney
Lamont Love, Reg. No. 17313-075, to a term of 322 months' imprisonment, leaving intact and
in effect the 15-year term of supervised release with all its conditions and all other components
of the sentence. I also direct the Bureau of Prisons to make available to the said Rodney Lamont
Love, Reg. No. 17313-075, the Residential Drug Abuse Program, or future equivalent program,
at an appropriate time before his sentence expires. Further, I condition this grant of commutation
to the said Rodney Lamont Love, Reg. No. 17313-075, on him enrolling in RDAP by written
agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy of this
document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Damand
Matthews, Reg. No. 40159-424, to a term of 240 months' imprisonment. I also remit the unpaid
balance of the $1,000 fine imposed by the court that may remain when his term of incarceration
has expired. I leave intact and in effect the five-year term of supervised release with all its
conditions and all other components of the sentence. I also direct the Bureau of Prisons to make
available to the said Damand Matthews, Reg. No. 40159-424, the Residential Drug Abuse
Program, or future equivalent program, at an appropriate time before his sentence expires. Further,
I condition this grant of commutation to the said Damand Matthews, Reg. No. 40159-424, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt
of a certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.


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        I hereby further commute the total sentence of imprisonment imposed upon Sean
Anthony Ogle, Reg. No. 05404-059, to a term of 168 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Sean Anthony Ogle, Reg. No. 05404-059, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Sean Anthony Ogle, Reg. No. 05404-059, on him enrolling in
RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Curtis
Daryle Tinsley, Reg. No. 23016-057, to a term of 271 months' imprisonment, leaving intact
and in effect the five-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Curtis Daryle Tinsley, Reg. No. 23016-057, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Curtis Daryle Tinsley, Reg. No. 23016-057, on him enrolling
in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Timothy
Juan Washington, Reg. No. 60805-019, to a term of 120 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
Timothy Juan Washington, Reg. No. 60805-019, the Residential Drug Abuse Program, or
future equivalent program, at an appropriate time before his sentence expires. Further, I
condition this grant of commutation to the said Timothy Juan Washington, Reg. No. 60805-
019, on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14
days of his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.

        I hereby further commute the total sentence of imprisonment imposed upon Gregory
Antonio Webber, Reg. No. 83952-180, to a term of 188 months' imprisonment. I also remit the
unpaid balance of the $1,500 fine that may remain when his term of incarceration has expired. I
leave intact and in effect the five-year term of supervised release with all its conditions and all
other components of the sentence. I also direct the Bureau of Prisons to make available to the said
Gregory Antonio Webber, Reg. No. 83952-180, the Residential Drug Abuse Program, or future
equivalent program, at an appropriate time before his sentence expires. Further, I condition this
grant of commutation to the said Gregory Antonio Webber, Reg. No. 83952-180, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt
of a certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.

         I hereby further commute the total sentence of imprisonment imposed upon Brian Lee
Wells, Reg. No. 11222-030, to a term of 240 months' imprisonment. I also remit a portion of the
restitution obligation imposed by the court, namely the remaining balance of the $7,449.50 owed
to the Drug Enforcement Administration. I leave intact and in effect the $3,000 restitution
obligation imposed by the court that is owed to a private citizen. I also leave intact and in effect the
10-year term of supervised release with all its conditions and all other components of the sentence.
I also direct the Bureau of Prisons to make available to the said Brian Lee Wells, Reg. No. 11222-
030, the Residential Drug Abuse Program, or future equivalent program, at an appropriate time
before his sentence expires. Further, I condition this grant of commutation to the said Brian Lee
Wells, Reg. No. 11222-030, on him enrolling in RDAP by written agreement, as evidenced by his
signing, within 14 days of his receipt of a certified copy of this document, a receipt verifying his
acceptance of the commutation granted with all of its conditions, including enrollment in RDAP.



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         I hereby further commute the total sentence of imprisonment imposed upon Robert James
Pearson White, Reg. No. 23441-171, to a term of 240 months' imprisonment. I also remit the
unpaid balance of the $200,000 forfeiture obligation that may remain when his term of
incarceration has expired. I leave intact and in effect the 10-year term of supervised release with
all its conditions and all other components of the sentence. I also direct the Bureau of Prisons to
make available to the said Robert James Pearson White, Reg. No. 23441-171, the Residential
Drug Abuse Program, or future equivalent program, at an appropriate time before his sentence
expires. Further, I condition this grant of commutation to the said Robert James Pearson White,
Reg. No. 23441-171, on him enrolling in RDAP by written agreement, as evidenced by his
signing, within 14 days of his receipt of a certified copy of this document, a receipt verifying his
acceptance of the commutation granted with all of its conditions, including enrollment in RDAP.



       THIS GRANT SHALL become effective as to each of the above-named persons only
upon the delivery and presentment of a certified copy of this document to that person and upon
that person's acceptance of the conditional terms of the grant. I further direct that once the
receipt has been signed by the grant recipient, the Bureau of Prisons shall immediately forward
an ELECTRONIC COPY of the receipt to the Office of the Pardon Attorney, which will deliver
that copy to appropriate personnel in the Bureau of Prisons Designation and Sentence
Computation Center, who will recalculate the projected release dates of each respective recipient.
Failure of a person to sign the receipt and accept the conditional terms of the commutation grant
will render the grant of commutation null and void only as to the person who rejected the grant,
and not to all persons named herein.


        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this
                                                     Seventeenth day of January in the year of
                                                     our Lord Two thousand and seventeen and
                                                     of the Independence of the United States the
                                                     two hundred and forty-first.




                                                             BARACK OBAMA
                                                                President




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